     Case 2:07-cr-00136-LRS    ECF No. 195   filed 01/21/09   PageID.651 Page 1 of 1




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 3
 4                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
 5
 6
      UNITED STATES OF AMERICA,                 )
 7                                              )    No. CR-07-136-LRS-2
                        Plaintiff,              )
 8                                              )    ORDER FOLLOWING STATUS
      v.                                        )    CONFERENCE AND GRANTING
 9                                              )    MOTION TO MODIFY CONDITIONS
      RANDI K. TAPIA,                           )    OF RELEASE
10                                              )
                        Defendant.              )
11                                              )

12          At the January 21, 2009, status conference and hearing on

13   Defendant’s Motion to Modify (Ct. Rec. 190), Defendant appeared with

14   Assistant Federal Defender Steve Hormel.                 Assistant U.S. Attorney

15   Pamela J. Byerly represented the United States.

16          Defendant requested modification of her curfew.                 The United

17   States does not object.

18          IT IS ORDERED:

19          1.   The Defendant’s Motion (Ct. Rec. 190) is GRANTED.

20          2.   The Defendant’s curfew is MODIFIED to 6:00 p.m. to 6:00

21   a.m.

22          3.   All other conditions in this court’s prior orders shall

23   remain.

24          DATED January 21, 2009.

25
26                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
27
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     ORDER FOLLOWING STATUS CONFERENCE AND GRANTING
     MOTION TO MODIFY CONDITIONS OF RELEASE - 1
